     Case 4:21-cv-00270 Document 428 Filed on 11/11/24 in TXSD Page 1 of 1

                                      United States District Court
                                      Southern District of Texas
                                           Houston Division
Clifford F. Tuttle, Jr, et al.                        §
                                                      §
versus                                                §             Civil Action 4:21−cv−00270
                                                      §
City Of Houston, et al.                               §


                                 Notice of Filing of Official Transcript
An official transcript has been filed:
                                             Transcript − #426

Transcripts may have information restricted from public disclosure. See E-Government Act of 2002,
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To comply with the rules on privacy, the parties must redact protected information before then.

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Date: November 11, 2024                                          Nathan Ochsner, Clerk
